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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 C.R. and J.R., individually and as Next Friends,
 of JOE R., a minor,
                                                    Case No. 14-cv-14531
        Plaintiffs,                                 Hon. Terrence G. Berg
                                                    Hon. R. Steven Whalen
 v

 NOVI COMMUNITY SCHOOL DISTRICT,
 VERA WILLIAMS, in her individual capacity,
 STEPHANIE SCHRINER, in her individual
 capacity, ANDREW COMB, in his individual
 capacity, and STEVEN MATTHEWS, in his
 individual capacity, JEAN SOLOMON, an
 individual, and EDUSTAFF, LLC, a Michigan
 limited liability company,

        Defendants.


 VIVIANO, PAGANO & HOWLETT PLLC                     MILLER, CANFIELD, PADDOCK
 By: Joseph E. Viviano (P60378)                     AND STONE, P.L.C.
      Joseph C. Pagano (P57107)                     By: Robert L. DeJong (P12639)
 Attorneys for Plaintiffs                           Attorneys for Defendants Jean Solomon
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 PLUNKETT COONEY                                    MILLER, CANFIELD, PADDOCK
 By: Michael D. Weaver (P43985)                     AND STONE, P.L.C.
 Attorneys for Defendants Novi Community            By: Gerald J. Gleeson (P53568)
 School District, Williams, Schriner, Comb and      Attorneys for Defendants Jean Solomon
 Matthews                                           and EduStaff, LLC
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                       ORDER TO APPROVE SETTLEMENT

        Plaintiffs filed their Motion to Approve Settlement, the Parties appeared in
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 Court, and the Court has reviewed all necessary documents in camera.

       The Court being fully advised; IT IS ORDERED that the Motion to Approve

 Settlement is GRANTED. Plaintiffs C.R. and J.R. are to be reimbursed for their

 costs, expenses and attorney fees associated with this case, and the balance of the

 settlement amount for minor Joe R. is to be paid to the discretionary trust for the

 benefit of minor Joe R. as ordered by the State of Michigan’s Oakland County

 Probate Court. The settlement is approved as proposed, with the portion of the

 settlement proceeds for minor Joe R. determined to be fair and reasonable in light

 of the facts of this case by this Court, and this case is closed and dismissed with

 prejudice and without cost to any party.

 IT IS SO ORDERED.



                                                /s/Terrence G. Berg____
                                                TERRENCE G. BERG
                                                United States District Judge

 Dated:      11/27/2017




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